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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY LITIGATION MDL No. 2323

 Kevin Turner and Shawn Wooden, on behalf
 of themselves and others similarly situated,
                                          Plaintiffs,
              v.
 National Football League and NFL Properties, LLC,
 successor-in-interest to NFL Properties, Inc.,
                                        Defendants.

 THIS DOCUMENT RELATES TO:
 ALL ACTIONS



                                           ORDER

       On January 3, 2022, the Court issued a Notice to Class Members (ECF No. 11568),

informing the Class about proposed modifications to the Settlement Agreement that would

eliminate the consideration of race in the Settlement Program. That Notice also provided Class

Members with an opportunity to submit comments, questions, or concerns about the proposed

modifications. The comment period is now closed.

       It is ORDERED that, on or before February 4, 2022, BrownGreer must file on this

docket a memorandum including—where privacy of Class Members permits—the comments and

questions received.

       It is FURTHER ORDERED that the mediating parties must file any response to Class

Members’ comments on or before February 11, 2022.




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Dated: February 1, 2022

                                          S/Anita B. Brody
                                          ANITA B. BRODY, J.

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